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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                         BILLINGS DIVISION

RECIPROCITY INDUSTRIES, LLC,

                            Plaintiff,
                v.                       Case No. 21-MC-00011-SPW-TJC

CENTURY INDEMNITY                        STIPULATION TO EXTEND TIME
COMPANY,


Defendants.


      Counsel for Plaintiff and counsel for Defendant have met and conferred

regarding extending Defendant’s time to respond to Plaintiff’s Motion to Quash

Subpoena and Brief in Support of Motion to Quash Subpoena, which is currently

due on October 29, 2021. Subject to the Court’s approval, the parties request the

Defendant’s time to file its response to Plaintiff’s Motion to Quash Subpoena and

Brief in Support of Motion to Quash Subpoena be extended up to and including

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November 15, 2021. No party will be prejudiced by this extension. A proposed order

is being filed concurrently.

      DATED this 21st day of October, 2021.



                                      MOULTON BELLINGHAM PC

                                      __/s/ Adam J. Tunning__
                                      Adam J. Tunning
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